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                            Exhibit 14.13
                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
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                 EXHIBIT A-42
         AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
          United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                           ALCD-PUBCOM 0005853
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  Patented Feb. 10, 1948                                                                      2,435,593


         UNITED STATES PATENT OFFICE
                                                   2,435,593
                               PROCESS FOR MAKING BIS-(3,5,6-TRI-
                                CHLORO-2-HYDROXYPHENYL) METHANE
                               Max Luthy, Ridgewood, and William S. Gump,
                                Montclair, N. J., assignors to Burton T. Bush,
                                Inc., New York, N. Y., a corporation of New
                                Jersey
                                   No Drawing. Application June 14,1945,
                                            Serial No. 599,507
                                          17 Claims. (Cl. 260-619)
                           1                                                        2
    This invention relates to an improved process         aldehyde and trioxane. Any other substance
  for making bis-(3,5,6-trichloro-2-hydroxyphenyl)        which will yield formaldehyde under the reaction
  methane (sometimes referred to also as 2,2'-di-         conditions may also be employed.
  hydroxy-3,5,6-3',5',6'- hexachloro diphenyl meth-          As the condensation agent, sulfuric acid may
  ane).                                                 5 be employed in various acid concentrations. Ex-
    Bis - (3,5,6-trichloro-2-hydroxyphenyl) meth-         cellent results have been obtained with sulfuric
  ane Is a substance having desirable bactericidal        acid of 100% H2SO4 concentration up to and in-
  and fungicidal properties. It may be employed           cluding oleum 20%. However, aqueous sulfuric
  to advantage In tooth pastes, ointments, creams,        acid solution of lower strength (e. g., 93% acid
  lotions and rubber goods, Inter alia. In addition, 10 strength) and oleum of higher strength (e. g.,
  when Incorporated in small amounts in soaps, It         oleum 50%) can also be employed. As will be
  exhibits the surprising quality-for a phenolic          understood by those skilled In the art, it is desired
  substance—of rendering such soaps germicidal.           to bind the water formed during the reaction.
    We are aware of the prior art method for pre-         Consequently, it Is preferable to utilize oleum,
  paring bis (3,5,6 - trichloro-2 - hydroxyphenyl) 15 e. g., oleum 20 %.
  methane. This known method, as well as the bis-            The amounts of 2,4,5-trichlorophenol, formal-
  (3,5,6-trichloro-2-hydroxyphenyl) methane it-           dehyde-yielding substance and sulfuric acid em-
  self, has been patented by one of us. The known         ployed can be varied over wide limits. It has
  method involves the condensation of 2,4,5-tri-          been found advantageous to use the 2,4,5-tri-
  chlorophenol with formaldehyde in the presence 2o chlorophenol and formaldehyde-yielding sub-
  of sulfuric acid. Large amounts of sulfuric acid        stance in amounts such that there are present
  are required in the patented process. Also, used        about 2 mols of the trichlorophenol to each mol of
  therein during the condensation reaction are            CHsO. Especially desirable results are obtained
  solvents like methyl alcohol. Moreover, the prior       when formaldehyde-yielding material is used in
  art condensation process calls for low tempera- 25 about 25% excess over that called for by the ratio
  tures, e. g., 0° to 5 C., and requires about 24 hours   of 2 mols of 2,4.5-trichlorophenol to 1 mol of
  of reaction time.                                       CH20. When such an excess of formaldehyde-
    In accordance with our present invention we           yielding material is employed it Is found that
  avoid the use of large amounts of sulfuric acid,        there is a practically complete conversion of the
  dispense entirely with the use of a solvent during 30 trichlorophenol, thereby eliminating the neces-
  the condensation reaction, conduct the reaction         sity of having to separate or recover unreacted
  at elevated temperatures (thereby avoiding the          trichlorophenol.
  need for expensive cooling equipment and mate-             One of the features of our process is the reduc-
  rial), and obtain substantially complete reaction       tion in the amount of sulfuric acid used. Ac-
  within a period of minutes instead of hours. In 35 cordingly, it will be understood that it is desirable
  economic terms, our present process results in          to use the smallest amount of sulfuric acid or
  savings in time and materials, reduction in costs,      oleum which is needed to accomplish the desired
  and increase in productivity of a given unit.           condensation of the trichlorophenol and CHaO.
    In accordance with our present invention, we          We have found that especially desirable results
  react 2,4,5-trichlorophenol and a suitable form- 40 are obtained when the quantity of acid or oleum
  aldehyde-yielding material at an elevated tem-          used is of the order of about one third of the
  perature in the presence of a minor amount of           weight of the trichlorophenol employed.
  strong sulfuric acid or oleum and over a period            The condensation may be conducted at ele-
  which need not exceed thirty minutes. The re-           vated temperatures within a rather wide range.
  action products may be worked up in known man- 45 It is desirable to start the reaction at a tempera-
  ner (see U. S. Patent No. 2,250,480) to obtain          ture at or above the melting point of 2,4,5-tri-
  bis - (3,5,6-trichloro-2-hydroxyphenyl) methane.        chlorophenol, and ..to maintain throughout the
  Alternatively, the hereinafter-described novel          reaction period such temperature conditions as
  purification method, forming a particular aspect        will permit of the stirring of the contents with
  of this invention, may be employed to yield sub- 50 equipment normally used for agitation. We have
  stantially pure bis-(3,5,6-trichloro-2-hydroxy-         found that the initial temperature may be as low
  phenyl) methane In a simple and commercially            as 65° C. and that the temperature may          per-
  desirable manner.                                       mitted to rise to 130' C. or even 150° C. during
     Suitable formaldehyde - yielding materials           the reaction. If desired, the entire reaction may
  which can be employed herein include paraform- 85 be conducted at the higher temperatures. In
                                                                                                           all
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              cases, as will be understood by those skilled in the     phenol) methane precipitates out of solution at
              art, means for controlling the temperature of the        a pH within the range of about 10.3 to about
              contents of the reaction chamber should be at            11. It is filtered and then washed with water.
              hand.                                                    Unreacted 2,4,5-trichlorophenol and other Ira-
                 Though we do not wish to be limited to any            purities remain in solution. The mono-alkali-
              particular method of and order in bringing the           metal salt of bis- (3,5,6-trichloro-2-hydroxyphen-
              2,4,5-trichlorophenol, formaldehyde-yielding ma-         yl) methane is then suspended in a large quan-
              terial and sulfuric acid or oleum together, we have      tity of water and acidified, e. g. with 62% strength
              found it desirable to introduce the 2,4,5-trichloro-     sulfuric acid. Bis-(3,5,6-trichloro-2-hydroxy-
              phenol and formaldehyde-yielding material first 10 phenyl) methane is thereby regenerated. Crys-
              into the reaction vessel and then to raise the tem-      tallization from a suitable solvent, e. g., toluene
              perature to at least about 65° C. before Intro-          yields substantially pure bis-(3,5,6-trichloro-2-
              ducing the sulfuric acid or oleum. Also, we pre          hydroxyphenyl) methane.
              fer to add the sulfuric acid or oleum slowly, over          In order to explain the invention more specifl-
              a 10 to 15 minute period, though if suitable pre- 15 cally the following examples are given, but it is
              cautions are taken, e. g., to control the tempera-       understood that they are for purposes of




                                                                                                                     illus-
              ture of the contents of the reaction vessel with-        tration and are not to be construed as limiting
              in the aforementioned range, and if rapid dis-           the scope of the invention.
              persion of the acid is effected, the acid may be
              charged into the reaction vessel much more rap- 20                            Example I
              idly.                                                       A mixture of 198 grams of 2,4,5-trichlorophenol
                 As will be understood by those skilled in the         and 18.8 grams of paraformaldehyde were heated
              art, the process is not restricted to any particu-       to 65° C. and well stirred. 65 grams of oleum 20 %
              ]ar length of time of reaction. Suffice it to say        was added dropwise and the addition was so reg-
              that the reaction should be conducted as long as 25 ulated that the temperature increased, without
              It takes to convert substantially all of 2,4,5-tri-      the application of external heat, until it reached
              chlorophenol into bis-(3,5,6-trichloro-2-hydroxy-        135° C. at the end of the acid addition, which
              phenyl) methane. The time that this will re-             took 10 to 15 minutes. The contents of the re-
              quire will depend on various factors, such as the        action vessel were stirred for two minutes more
              ratio and amounts of the reactants and conden- 30 and then allowed to run into a solution of 100
              sation agent, the facilities available to remove         grams of sodium hydroxide In 1000 cc. of water.
              the heat liberated by the reaction, and the tem-            The reaction flask was washed with a solution
              perature of reaction. We have found that the             of 25 grams of sodium hydroxide in 250 cc. of
              reaction is substantially complete In thirty min-        water. The combined alkaline solutions were
              utes and, in some cases, five minutes are long 35 heated to boiling for five minutes. A small
              enough.                                                  amount (6 grams) of alkali-insoluble material
                  As noted above, a particular aspect of the pres-      remained and was filtered off. Sulfuric acid
              ent invention involves a novel method of iso-             (62% H2SO4 content) was then added at room
              lating in substantially pure form the     bis-(3,5,0-    temperature dropwise under stirring to the 61-
              trichloro - 2 - hydroxyphenyl) methane formed 40 trate until a pH of 10.3 was reached. This re-
              during the reaction. This novel method is much           quired about 80 grams of the acid. The mono
              simpler and more commercially feasible than the          sodium salt of bis-(3,5,6-trichloro-2-hydroxy-
              known method of isolating and purifying the              phenyl) methane precipitated out of solution and
              bis-(3,5,6-trichloro -2- hydroxyphenyl) methane          was filtered and then washed with 200 cc. of
              formed by condensing 2,4,5-trichlorophenol and 45 water. The salt was then suspended in 2000 cc.
              a formaldehyde-yielding material.                        of water and sulfuric acid (62% H2SO4 content)
                  In general, the novel method involves the for-       was added under stirring until the contents were
              mation and isolation of a mono-alkali metal salt         acid to Congo red paper. This required about 30
              of bis-(3,5,6-trichloro-2-hydroxyphenyl) meth-           grams of the acid.
              ane and the regeneration of the bis-(3,5,6-tri- 50          The resulting bis-(3,5,6-trichloro-2-hydroxy-
              chloro-2-hydroxyphenyl) methane by treatment             phenyl) methane was filtered, washed with water
              of the mono-alkali metal salt with acid. Sub-            until acid-free and dried to constant weight at
              stantially pure bis-(3,5,6-trichloro-2-hydroxy-          100° C. (170 grams, melting point 154°-158° C.)
              phenyl) methane may be obtained from the re-             Crystallization of the 170 grams of dried bis-
              generated bis-(3,5,6-trichloro-2-hydroxyphenyl) 55 (3,56-trichloro-2-hydroxyphenyl) methane from
              methane by crystallization from a suitable solvent,      300 grams toluene yielded a first crop amounting
               e. g., toluene or benzene.                              to 105 grams of substantially pure bis-(3,5,6-tri-
                  In carrying out this novel method of isolating       chloro-2-hydroxyphenyl) methane, having a
               and purifying bis-(3 5,6-trichloro-2-hydroxy-           melting point of 161°-163° C.
              phenyl) methane the condensation of 2,4,5-tri- 60
               chlorophenol and formaldehyde-yielding material                              Example II
               is effected in accordance with this invention and           A mixture o1 198 grams of 2,4,5-trichlorophenol
               the contents of the reaction vessel are made alka-      and 18.8 grams of paraformaldehyde were heated
               line by running it into an excess of an aqueous         to 65° C. and well stirred. 65 grams of oleum 20%
              solution of a base, such as sodium or potassium 65 , was added dropwise and the addition was so regu-
               hydroxide. Alkali-insoluble material is then fil-       lated that the temperature increased, without the
               tered off through a suitable filter medium. Prior       application of external heat, until it reached 135°
               to filtration, the contents may be boiled for sev-      C. at the-end_of the acid addition, which took 10
               eral minutes to facilitate solution of        -solu-    to 15 minutes. The contents of the reaction ves-
                                                      alkali
               ble material.                                        70 sel were stirred for two minutes more and then
                  The pH of the alkaline solution is then brought       allowed to run into a solution of 100 grams of
               down, preferably to about 10.3 to about 11. A           sodium hydroxide in 1000        of water.
                                                                                                  cc.
               suitable agent for this purpose is strong sulfuric         The contents of the reaction vessel were stirred
               acid, e. g., of 62% acid strength. The mono-al-         for 2 minutes more and then allowed to run into
               kali metal salt of bis-(3,5,6-trichloro-2-hydroxy- 75 a solution of 150 grams of caustic potash flakes



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    (94% KOli) in 1000 cc. of water. The reaction              amount equal to not more than one-third the
    flask was washed with a solution of 25 grams of            weight of the 2,4,5-trichlorophenol employed.
    caustic potash flakes In 250 cc. of water. The                 4. The process for preparing bis-(3,5,6-tri-
    combined alkaline solutions were heated to boil-           chloro-2-hydroxyphenyl) methane which com-
   ing for 10 minutes and filtered while hot. A small b prises reacting 2,4,5-trichlorophenol with
                                                                                                            para-
    amount of alkali-insoluble material remained on            formaldehyde at elevated temperatures within
    the filter. Sulfuric acid (62% H2SO4 content)              the range of about 65° C. to about 150° C. and in
    Was then added at room temperature dropwise                the presence of a substance selected from the
   under stirring to the filtrate until a pH of 10.3 was       group consisting of sulfuric acid having at least
   reached. This required about 80 grams of the 10 about 93% H2SO4 content by weight and oleum,
   acid.                                                       said substance being employed in an amount not
       The mono potassium salt of bis-(3.5,6-tri-              substantially more than one-third the weight of
   ehloro-2-hydroxyphenyl) methane precipitated                the 2.4,5-trichlorophenol employed.
   out of solution, was filtered off, and then washed             5. The process for preparing bis-(3.5,6-tri-
   with 500 cc. of water. The salt was then sus- 16 chloro-2-hydroxyphenyl) methane which
   pended in 2000 cc, of water and sulfuric acid




                                                                                                            com-
                                                               prises reacting about 198 parts by weight of 2,4.5-
   (62% H2SO4 content) was added under stirring                tricholorophenol with about 18 parts by weight of
   until the contents were acid to Congo red paper.            paraformaldehyde in the presence of about 65
   This required about 30 grams of acid. The result-           parts by weight of oleum 20%, at elevated tern-
   ing big-(3.5.6-trichloro-2-hydroxyphenyl) meth- 20 peratures within the range of
                                                                                                 about 65° C. to
   ane was filtered, washed with hot water until free          about 135° C.
   of sulfuric acid and potassium sulfate and dried               6. The process for preparing bis-(3,5,6-tri-
   to constant weight at 100° C. (185 grams, melting           chloro-2-hydroxyphenyl) methane which com-
   point 154°-157° C.). Crystallisation of the 185             prises reacting about 198 parts by weight of 2.4,5-
   grams of dried bis-(3 5.6-trichloro-2-hydroxy- 26 trichlorophenol with about 18 parts by weight of
   phenyl) methane from 320 grams toluene yielded              paraformaldehyde in the presence of about 65
   a first crop amounting to 115 grams of substan-             parts by weight of oleum 20%, at elevated tem-
   tially pure bis-(3.5,6-trichloro-2-hydroxyphenyl)           peratures within the range of about 65° C. to
  methane, having a melting point of 161°-163° C.              about 135° C. for a period of about 5 to about 30
      Similar results as to yield and product. i. e., the 30 minutes.
  mono potassium salt of bis-(3 5.6-trichloro-2-hy-               7. In the process for preparing bis-(3,5,6-tri
  droxyphenvl) methane, are obtained, if in this               chloro-2-hydroxyphenyl) methane by condensing
  example the 150 grams of caustic potash flakes              2,4 5-trichlorophenol with a formaldehyde-yield-
  are replaced by a mixture of caustic alkalis                ing substance, the improvement which comprises
                                                  con-
  sisting of 56 gramq of caustic soda and 72 grams 36 conducting the condensation at
                                                                                                elevated temper-
  of caustic potash flakes.                                   atures and in the presence of a substance selected
      The foregoing Illustrates the practice of this          from the group consisting of sulfuric acid having
  invention which however Is not to be limited                at least about 93% H2SO4 content by weight and
  thereby but is to be construed as broadly as per-           oleum, said substance being employed in an
  mi°sible in view of the prior art and limited solely 40 amount not substantially more than one-third
  by the appended claims.                                     the weight of the 2,4.5-trichlorophenol employed,
      We claim:                                               and isolating the bis-(3 5,6-trichloro-2-hydroxy-
      1. In the process for preparing bis-(3.5,6-tri-         phenyl) methane in substantially pure form by
  chloro-2-hydroxyphenyl) methane by condensing               forming and isolating the mono alkali metal salt
  2,4.5-trichlorophenol with a formaldehyde-yield- 45 of bis-(3,5,6-trichloro-2-hydroxyphenyl) meth-
  ing substance, the improvement which comprises              ane from the reaction products and regenerating
  conducting the condensation at elevated temper-             the bis-(3,5,6-trichloro-2-hydroxyphenyl) meth-
  atures and in the presence of a substance selected          ane from said salt.
  from the group consisting of sulfuric acid having              8. In the process for preparing bis-(3,5,6-tri-
  at least about 93% HsSO4 content by weight and 60 chloro-2-hydroxyphenyl) methane by condens-
  oleum, said substance being employed in an                  ing 2,4,5-trichlorophenol with a formaldehyde-
  amount not substantially more than one-third                yielding substance, the Improvement which com-
  the weight of the 2,4.5-trichlorophenol employed.           prises conducting the condensation at elevated
      2. In the process for preparing bis-(3 5,6-tri-         temperatures and in the presence of a substance
  ehloro-2-hydroxyphenyl) methane by condensing 65 selected from the group consisting of sulfuric acid
  2.4,5-trichlorophenol with a formaldehyde-yield-            having at least about 93% H2SO4 content by
  ing substance, the improvement which comprises              weight and oleum, said substance being em-
  conducting the condensation at elevated temper-             ployed in an amount not substantially more than
  atures within the range of about 65° C. to about            one-third the weight of the 2.4,5-trichlorophenol
  150° C. and in the presence of a substance selected 00 employed, and isolating the bis-(3 5.6-trichloro-
  from the group consisting of sulfuric acid having           2-hydroxyphenyl) methane in substantially pure
  at least about 93% 112504 content by weight and             form by forming and isolating the mono sodium
  oleum, said substance being employed in an                  salt of bis-(3,5,6-trichloro-2-hydroxyphenyl)
  amount not substantially more than one-third                methane from the ' reaction products and regen-
  the weight of the 2,4,5-trichlorophenol employed. 05 erating the bis- (3.5,6-trichloro-2-hydroxyphenyl)
      3. In the process for preparing bis-(3,5,6-tri-         methane from said salt.
  chloro-2-hydroxyphenyl) methane by condensing                  9. The process for preparing bis-(3,5,6-tri-
  2,4,5-trichlorophenol with a formaldehyde-yield-            chloro-2-hydroxyphenyl) methane which com-
  ing substance, the improvement which comprises              prises reacting about 198 parts by weight of 2.4,5-
  conducting the condensation at elevated temper- T0 trichlorophenol with about 18 parts by weight of
  atures within the range of about 65° C. to about            paraformaldehyde in the presence of about 65
  150° C. and in the presence of a substance selected         parts by weight of oleum 20%, at elevated tem-
  from the group consisting of sulfuric acid having           peratures within the range of about 65° C. to
  at least about 93% H2SO4 content by weight and            . about 150° C., and Isolating the bis- (3.5.6-trl-
  oleum, said substance being employed in an To chloro-2-hydroxyphenyl) methane in substan-




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              tially pure form by forming and isolating the           chloro-2-hydroxyphenyl) methane in substan-
              mono sodium salt of bis-(3,5,6-trichloro-2-hy-          tially pure form by forming and isolating the
              droxyphenyl) methane from the reaction prod-            mono sodium salt of bis-(3,5,6-trichloro-2-hy-
              ucts and regenerating the bis-(3,5,6-trichloro-         droxyphenyl) methane from the reaction prod-
                                                                                  regenerating the bis-(3,5,6-trichloro-2-
              2-hydroxyphenyl) methane from said salt.              6 ucts and
                 10. The process for preparing bis-(3,5,6-tri-        hydroxyphenyl) methane from said salt by acid-
              chloro-2-hydroxyphenyl) methane which com-              ifying with sulfuric acid, and recrystallizing the
              prises reacting about 198 parts by weight of            bis-(3,5.6-trichloro-2-hydroxyphenyl)       methane
              2,4,5-trichlorophenol with about 18 parts by            from a suitable solvent.
              weight of paraformaldehyde In the presence of 10           15. The process Ior preparing bis-(3,5,6-tri-
              about 65 parts by weight of oleum 20%, at ele-          chloro-2-hydroxyphenyl) methane which com-
              vated temperatures within the range of about 65°        prises reacting about 198 parts by weight of 2,4,5-
              C. to about 150° C., and Isolating the bis-(3,5.6-      trichiorophenol with about 18 parts by weight of
              trichloro-2-hydroxyphenyl) methane in substan-          paraformaldehyde in the presence of about 65
              tially pure    form by  forming  and  Isolating the  15 parts   by weight of oleum 20%, at elevated tem-
              mono potassium salt of bis-(3,5,6-trichloro-2-hy-       peratures within the range of about 05° C. to
              droxyphenyl)methane from the reaction prod-             about 150° C., Isolating the bis-(3.5.6-trichloro-
              ucts and regenerating the bis-(3,5,6-trichloro-         2-hydroxyphenyl) methane in substantially pure
              2-hydroxyphenyl) methane from said salt.                form by forming and isolating the mono po-
                  11. The process for preparing bis-(3,5,6-tri-       tassium salt of bis-(3,5,6-trichloro-2-hydroxy-
              chloro-2-hydroxyphenyl) methane which com-              phenyl) methane from the reaction products and
              prises reacting about 198 parts by weight of            regenerating the bls-(3,5,6-trichloro-2-hydroxy-
              2,4 5-trichlorophenol with about 18 parts by             phenyl) methane from said salt by acidifying
              weight of paraformaldehyde In the presence of           with sulfuric acid, and recrystallizing the bis-
              about 65 parts by weight of oleum 20%, at ele- 25 (3,5,6-trichloro-2-hydroxyphenyl) methane from
              vated temperatures within the range of about 65'        a suitable solvent.
              C. about 135° C. for a period of about 5 to about           16. The process for preparing bis-(3,5,6-trl-
              30 minutes, and isolating the bis-(3,5,6-trichloro-      chloro-2-hydroxyphenyl) methane which com-
              2-hydroxyphenyl) methane in substantially pure           prises reacting about 198 parts by weight of 2,4.5-
               form by forming and Isolating the mono alkali 80 trichlorophenol with about 18 parts by weight of
              metal salt of bis-(3,5,6-trichloro-2-hydroxy-            paraformaldehyde In the presence of about 65
               phenyl) methane from the reaction products and          parts by weight of oleum 20%, at elevated tem-
               regenerating the bis-(3,5,6-trichloro-2-hydroxy-        peratures within the range of about 65° C. to
               phenyl) methane from said salt.                         about 135° C. for a period of about 5 to 30 min-
                  12. The process for preparing bis-(3, 5, 6-tri- 85 utes, Isolating the bis-(3,5,6-trichloro-2-hydroxy-
               chloro-2-hydroxyphenyl) methane which com-              phenyl) methane in substantially pure form by
               prises reacting about 198 parts by weight of 2,4,5-     forming and Isolating the mono sodium salt of
               trichlorophenol with about 18 parts by weight of        bis-(3,5,6-trichloro-2-hydroxyphenyl)      methane
               paraformaldehyde in. the presence of about 65           from the reaction products and regenerating the
               parts by weight of oleum 20%, at elevated tern- 40 bis-(3,5,6-trichloro-2-hydroxyphenyl)           methane
               peratures within the range of about 65° C. to           from said salt by acidifying with sulfuric acid,
               about 135° C. for a period of about 5 to 30 min-        and recrystallizing the bis-(3,5,6-trichloro-2-hy-
               utes, and isolating the bis-(3,5.6-trichloro-2-hy-      droxyphenyl) methane from a suitable solvent.
               droxyphenyl) methane in substantially pure                 17. The process for preparing bis-(3,5,6-tri-
               form by forming and Isolating the mono sodium 45 chloro-2-hydroxyphenyl) methane which com-
               salt of bis-(3,5,6-trichloro - 2 - hydroxyphenyl)       prises reacting about 198 parts by weight of 2,4,5-
               methane from the reaction products and regen-           trichlorophenol with about 18 parts by weight of
               erating the bis-(3,5,6-trichloro-2-hydroxyphenyl)       paraformaldehyde in the presence of about 65
                methane from said salt.                                parts by weight of oleum 20%, at elevated tern-
                  13. The process for preparing bis-(3.5,6-tri- so peratures within the range of about 65° C. to
                chloro-2-hydroxyphenyl) methane which com-             about 135° C. for a period of about 5 to 30 min-
                prises reacting about 198 parts by weight of           utes, isolating the bis - (3,5,6-trichloro -2 - hy-
                2,4,5-trichlorophenol with about 18 parts by           droxyphenyl) methane in substantially pure form
                weight of paraformaldehyde in the presence of          by forming and isolating the mono potassium
                about 65 parts by weight of oleum 20%, at ele- 65 salt of bis-(3.5,6-trichloro - 2 - hydroxyphenyl)
                vated temperatures within the range of about 65°       methane from the reaction products and regen-
                C. to about 135° C. for a period of about 5 to 30      erating the bis-(3,5,6-trichloro-2-hydroxyphenyl)
                minutes, and Isolating the bis-(3.5,6-trichloro-2-      methane from said salt by acidifying with sul-
                hydroxyphenyl) methane in substantially pure            furic acid, and recrystallizing the bis-(3,5,6-tri-
                form by forming and Isolating the mono potas- 60 chloro-2-hydroxyphenyl) methane from a suit-
                sium salt of bis-(3,5,6-trichloro-2-hydroxyphen-        able solvent.
                yl) methane from the reaction products and re-                                     MAX LUTiiY.
                generating the bis-(3,5,6-trichloro-2-hydroxy-                                     WILLIAM S. GUMP.
                phenyl) methane from said salt.
                   14. The process for preparing bis-(3,5,6-tri- 65                   REFERENCES CITED
                chloro-2-hydroxyphenyl) methane which com-                The following references are of record in the
                 prises reacting about 198 parts by weight of           file of this patent:
                 2,4,5-trichlorophenol with about 18 parts by                      UNITED STATES PATENTS
                weight of paraformaldehyde In the presence of
                 about 65 parts by weight of oleum 20%, at ele- 70 Number                  Name                   Date
                vated temperatures within the range of about 65°         2,250,480     Gump ------------- July 29, 1941
                 C. to about 150° C., isolating the bis-(3,5,6-tri-




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